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                                UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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9     DAVID H.,                                         Case No. 5:20-CV-01956 (VEB)

                           Plaintiff,                   JUDGMENT
10
      vs.
11
      KILOLO KIJAKAZI, Acting Commissioner of
12    Social Security,

                           Defendant.
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14          For the reasons set forth in the accompanying Decision and Order, it is hereby DECREED

15   THAT (1) Plaintiff’s request for an order remanding this case for further proceedings is GRANTED

     and the Commissioner’s decision is REVERSED; (2) the Commissioner’s request for an order
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     affirming the Commissioner’s final decision and dismissing the action is DENIED; (3) judgment is
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                      JUDGMENT – DAVID H. v KIJAKAZI 5:20-CV-01956-VEB
     Case 5:20-cv-01956-VEB Document 21 Filed 10/29/21 Page 2 of 2 Page ID #:879




1    entered in Plaintiff’s favor and this matter is REMANDED for further proceedings consistent with

     the Decision and Order; and (4) this case is CLOSED without prejudice to a timely application for
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     attorneys’ fees and costs.
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            DATED this 29th day of October 2021,
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                                                             /s/Victor E. Bianchini
                                                             VICTOR E. BIANCHINI
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                                                        UNITED STATES MAGISTRATE JUDGE

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                       JUDGMENT – DAVID H. v KIJAKAZI 5:20-CV-01956-VEB
